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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

 KIERAN O'HARA, on behalf of himself and
 all other similarly situated individuals,

        Plaintiff,
 v.                                                   Case No. 15-14139
 DIAGEO BEER COMPANY USA & DIAGEO
 NORTH AMERICA, INC.

        Defendants.

              NOTICE OF SETTLEMENT AND REQUEST FOR HEARING



                                                                                                      -
       Plaintiff, Kieran O'Hara, and Defendants, Diageo Beer Company USA and Diageo North

America Inc., hereby jointly notify the Court that they have reached a settlement agreement in

principle in this action, which resolves all matters pending before the Court.

       Accordingly, the parties jointly request that all pending case matters and events be removed

from the docket and that the Court schedule a hearing date in mid to late June 2021 for the joint

Motion for Preliminary Approval of Class Action Settlement.

       Further, the parties will jointly prepare and file said Motion for Preliminary Approval of

Class Action Settlement on or before June 1, 2021.



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